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13
     Attorneys for Plaintiffs DONEYDA PEREZ, DANNY NISSEN, MARLYS NISSEN,
     JOSEPH ANGELO, GREGORY LAPLANTE and PAUL HOLT, individually and on
14   behalf of their respective businesses, and on behalf of all others similarly situated
15                     UNITED STATES DISTRICT COURT
16           CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

17   DONEYDA PEREZ as an individual and            Case No.: 8:16-CV-01440-JLS-DFM
     on behalf of all others similarly situated,
18
                                                   [PROPOSED] ORDER GRANTING
19                        Plaintiff,               PRELIMINARY APPROVAL OF
                                                   CLASS ACTION SETTLEMENT AND
20                 v.                              SETTING OF FINAL APPROVAL
21                                                 HEARING
     DIRECTV GROUP HOLDINGS, LLC, a
22   Delaware Corporation, LONSTEIN LAW            Date: August 19, 2022
     OFFICES, P.C., a New York Professional        Time: 10:30 a.m.
23
     Corporation; SIGNAL AUDITING, INC.,           Dept.: 8A
24   a New York Corporation, JULIE COHEN
     LONSTEIN and WAYNE M. LONSTEIN,               Fourth Amended Complaint Filed:
25                                                 December 17, 2020
26                        Defendants.

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         [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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 1         The Court, having read and considered the papers filed in support of
 2   Plaintiff’s Motion for Preliminary Approval of Class Action Settlement, the
 3   proposed class notice and other documents, having considered the arguments of
 4   counsel, and good cause appearing therefore,
 5         IT IS HEREBY ORDERED:
 6         1.    That the Class Action Settlement Agreement           (“Settlement” or
 7   “Settlement Agreement”) file
 8         2.    d with the Court as Exhibit 1 to the Declaration of Katherine J.
 9   Odenbreit entered into by and between DONEYDA PEREZ, DANNY NISSEN,
10   MARLYS NISSEN, JOSEPH ANGELO, GREGORY LAPLANTE and PAUL
11   HOLT (“Plaintiffs”), individually and on behalf of Class Members (defined below),
12   and Defendants DIRECTV Group Holdings, LLC, DIRECTV Holdings, LLC,
13   DIRECTV, LLC (collectively, the “DIRECTV Defendants”) (Plaintiffs and
14   DIRECTV Defendants are hereinafter referred to as the “Signing Parties”), is fair,
15   just, and reasonable and, therefore, meets the requirements for preliminary
16   approval, subject to further consideration at the final approval hearing after the
17   distribution of the Class Notices (Exhibits A, B and C to the Settlement Agreement)
18   to the members of the Settlement Class.
19         3.    For purposes of this Order, the court adopts all defined terms as set
20   forth in the Settlement Agreement.
21         4.    The following Class is conditionally certified for settlement purposes
22   only: All businesses and business owners in the United States who had DIRECTV
23   services installed in their commercial establishment; who were subsequently
24   audited by Defendant Signal Auditing, Inc. (“Signal”); and who at any time after
25   the day four years prior to the date on which the original Complaint was filed
26   (August 4, 2012) through the date the Court grants preliminary approval of the
27   Settlement received communications from Defendants Lonstein Law Offices, P.C.,
28   Wayne Lonstein, and/or Julie Cohen Lonstein, or on behalf of DIRECTV seeking

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         [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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 1   money for allegedly unauthorized use of DIRECTV licensed programming,
 2   including NFL Sunday Ticket or any other DIRECTV-related programming.
 3          5.        The Court finds, for settlement purposes only, the requirements of
 4   Federal Rule of Civil Procedure 23(a) and Federal Rule of Civil Procedure 23(b)(3)
 5   are satisfied.
 6          6.        Named Plaintiffs Doneyda Perez, Danny Nissen, Marlys Nissen,
 7   Joseph Angelo, Gregory LaPlante, and Paul Holt are appointed as Class
 8   Representatives. Kevin Mahoney and Katherine J. Odenbreit of Mahoney Law
 9   Group, APC and Lisa L. Clay, Attorney at Law, are appointed as Class Counsel.
10          7.        The proposed notice plan is hereby approved as the best notice
11   practicable. The proposed Class Notices attached to the Settlement Agreement as
12   Exhibit A B and C are sufficient to inform the Class Members of the terms of the
13   Settlement Agreement, their rights to receive monetary payments under the
14   Settlement Agreement, their right to exclude themselves from the Settlement, and
15   their right to lodge objections to the Settlement. The Court finds the notice
16   requirements of Federal Rules of Civil Procedure 23 and applicable standards of
17   due process are satisfied, and that the Class Notices adequately advises Class
18   Members of their rights under the Settlement. Counsel for the Parties are authorized
19   to correct any typographical errors that may be discovered in the Class Notices and
20   make clarification, to the extent some are found or needed, so long as the corrections
21   do not materially alter the substance of the Class Notices.
22          8.        The notice response deadline will be sixty (60) days from the date of
23   the initial mailing of the Notice. The procedures and sixty (60)-day deadline for
24   members of the Class to request exclusion from or to object to the Settlement is
25   adopted as described in the Settlement Agreement. Any Class Member who intends
26   to object to final approval of the Settlement Agreement must submit a written
27   objection to the Settlement Administrator by mail in accordance with the opt out
28   proceedings described in the Class Notices attached as Exhibits A B and C to the

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         [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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 1   Settlement Agreement.
 2         9.      Simpluris is appointed to act as the Settlement Administrator pursuant
 3   to the terms of the Settlement Agreement. The Settlement Administrator is ordered
 4   to carry out the Settlement according to the terms of the Settlement Agreement and
 5   in conformity with this Order, including disseminating the Notices according to the
 6   notice plan described in the Settlement Agreement. Based upon the cost estimate
 7   submitted by Simpluris, the Court preliminarily approves administration costs in
 8   the amount of a maximum of seventy-five thousand dollars ($75,000.00) to be
 9   deducted from the Total Settlement Fund.
10         10.     The Parties are ordered to carry out the Settlement according to the
11   terms of the Settlement Agreement.
12         11.     The Motion for Approval of Attorneys’ Fees, Costs and Class
13   Representative Incentive Awards will be filed no later than 15 days prior to the
14   deadline for Settlement Class Members to request exclusion or object to the
15   Settlement.
16         12.     The Motion for Final Approval of the Settlement shall be filed and
17   served no later than ____________________.
18         13.     A Final Approval Hearing will be held on _____________________,
19   at ____________ a.m./p.m., to determine whether the Settlement Agreement should
20   be granted final approval as fair, reasonable, and adequate as to the Settlement Class
21   Members. The Court reserves the right to continue the date of the Final Approval
22   hearing without further notice to Class Members. The Court retains jurisdiction to
23   consider all further applications arising out of or in connection with the Settlement
24   Agreement.
25         14.     In the event the Settlement is not fully and finally approved, or
26   otherwise does not become effective in accordance with the terms of the Settlement
27   Agreement, this Order shall be rendered null and void and shall be vacated, and the
28   Parties shall revert to their respective positions before entering into the Settlement

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         [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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 1   Agreement. If the Settlement does not become final for any reason, the fact that the
 2   Parties were willing to agree to a settlement and the circumstances, proceedings,
 3   and documents related to the proposed Settlement shall have no bearing on, and will
 4   not be admissible in connection with litigation, whether through issue preclusive,
 5   estoppel or otherwise.
 6         15.     All proceedings in the action are stayed until Final Approval of the
 7   Settlement.
 8

 9         IT IS SO ORDERED.
10

11   DATED: ___________________             ______________________________
                                            HON. JOSEPHINE L. STATON
12                                          UNITED STATES DISTRICT JUDGE
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         [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
